FORFEITURE EX. D5 - 1
EXHIBIT 1
U.S. v. Babichenko, et al.
Commission Sales Analysis ‐ Duplicates
Exhibit 1

                                                               Less: Amazon           Amazon Deposits
                                         Amazon Deposits    Deposits Ascribed to      Less Commission
    Name                                    per Gov't             Paul [1]              Based Sales
    Michael Iyerusalimets                $      4,183,573    $       (1,639,584)    $         2,543,988
    Tim Babichenko                       $     11,004,926    $        (1,090,644)   $         9,914,282
    Peter Babichenko                     $      4,361,502   $           (798,793)   $         3,562,710
    Paul Babichenko                      $     36,206,982   $                ‐      $        36,206,982




    Notes
[1] Source: Excel file called "Supporting_1250", tabs "P & N Amazon Deposits" and "Midstar Amazon Dep",
    disclosed by the government as support for Exhibit 1250‐005.
EXHIBIT 2
EXHIBIT 3
U.S. v. Babichenko, et al.
Summary of Net Proceeds
Exhibit 3

                                       Total               %
[1] Revenue                      $     66,234,958        100%
    Less Direct Costs:
[2]    Cost of Goods Sold             (44,839,892)       (68%)
[3]    Shipping Costs                  (3,974,097)        (6%)
    Gross Margin                  $    17,420,969         26%

[1]      Operating Expenses       $   (11,289,605)       (17%)
      Net Profit                  $     6,131,364         9%




    Notes
[1] Source: Revenue and operating expenses were identified through an analysis of the 2012 to 2018 bank
    statements and supporting documents for all defendants bank accounts (excluding David Bibikov) which
    approximates the analysis by governments expert, Linda Czemerys on Exhibits 1250 to 1253 and 1255 to
    1257.
[2] Cost of goods sold is the sum of foreign wires made by defendants, Michael, Tim, Peter and Paul,
    excluding wires to Brazil. Source: Linda Czemerys Exhibits 1259 to 1262.
[3] Shipping costs are estimated to be 6% of total revenue. Based on a cost of $4.90 per package divided by
    the average sale price per product of $78.86. Source for Shipping Costs : analysis of the average (2012 ‐
    2018) USPS rates for various classes to various locations as of 1.26.20 (prior year rates adjusted for
    inflation based on historical rates), see Exhibit 3.1. Source for Average Product Sale Price : analysis of
    Amazon records discovery produced on on September 17, 2018 and February 17, 2022, total product
    sales $ divided by total count of products sold [bates BABICHENKO‐265277, BABICHENKO‐347241,
    BABICHENKO‐347245, BABICHENKO‐347246 and BABICHENKO‐347247].
EXHIBIT 4
U.S. v. Babichenko, et al.
Calculation of Amazon Deposits After Adjustments
Exhibit 4

                                              Michael          Tim           Peter          Paul
  Amazon Deposits                          Iyerusalimets    Babichenko     Babichenko    Babichenko
  Amazon Deposits (per Gov't)             $     4,183,573 $ 11,004,926 $      4,361,502 $ 36,206,982
     Less: Duplicates                          (1,639,584)    (1,090,644)      (798,793)          ‐
  Total Amazon Deposits                   $     2,543,988 $    9,914,282 $    3,562,710 $ 36,206,982
     Less: Non‐Indicted Brands (14.3%)          (363,790)      (1,417,742)     (509,467)    (5,177,598)
  Subtotal                                $    2,180,198 $      8,496,540 $   3,053,242 $   31,029,384
     Less: Cost of Goods Sold (68%)           (1,482,535)      (5,777,647)    (2,076,205)   (21,099,981)
     Less: Shipping Costs (6%)                     (130,812)    (509,792)      (183,195)     (1,861,763)
  Total Amazon Deposits                   $        566,851 $   2,209,100 $      793,843 $    8,067,640
EXHIBIT 5
                           CHRISTOPHER G. LINSCOTT
                      3443 N. CAMPBELL AVENUE, SUITE 115
                              TUCSON, ARIZONA 85719
                                  (520) 884-0176




EDUCATION:    B.A. Psychology, Amherst College, 1980
              M.S. Accounting, New York University GBA, 1982
              Certified Public Accountant (CPA) 1984
              Certified Fraud Examiner (CFE) 1992
              Certified Insolvency and Restructuring Advisor (CIRA) 1997


BACKGROUND:   1994 - Present
              DIRECTOR
              Keegan Linscott & Associates, PC

              Owner of CPA firm. Head of bankruptcy and reorganization, litigation support, and
              forensic accounting practice for the firm. Includes Tucson and Scottsdale offices practice
              leader.

              1990-1993
              DIRECTOR, LITIGATION SUPPORT SERVICES
              Coopers & Lybrand – Tucson, AZ
              Responsible for work associated with financial aspects of clients and support for attorneys
              involved in litigation, fraud, receivership cases and bankruptcy work primarily in Arizona.
              Duties included damage calculation review and preparation, forensic accounting and
              financial analysis. Other duties included manager responsibilities for financial audits.

              1989-1990
              CHIEF FINANCIAL OFFICER
              Tombstone & Southern Railroad, Inc.
              Served for two years as CFO of start-up real estate and entertainment project in Cochise
              County. As one of three principals in this project, duties encompassed finance; budgeting,
              taxes, financial reporting, prospective reporting, capital solicitation, cash management and
              development of a business plan. Non-financial responsibilities included marketing, public
              speaking and recruitment of personnel.

              1981-1989
              SENIOR AUDIT MANAGER
              Peat Marwick Main & Co. – New York, NY
              Peat Marwick Main & Co. – Boston, MA
              Responsibilities included the supervision of fifty staff people on sixty audits for twelve
              clients. Duties included public and private reporting to the SEC and other third parties, day-
              to-day management of field work, oral and written presentations to top client management
              and Board of Directors, technical problem-solving and profit maximization. Areas of
              industry expertise include real estate, financial institutions, higher education, and
              manufacturing.
RANGE OF
EXPERIENCE:   Served as Trustee for various Chapter 11 and Chapter 7 entities primarily in the real estate,
              hospitality and health care sectors.

              Served as Chief Restructuring Officer for corporate commercial entity in Chapter 11.

              Served as Examiner in Chapter 11 proceedings focusing on real estate entities and alleged
              fraud.

              Served as “Responsible Party” (Trustee) for Chapter 11 debtor in successful corporate
              reorganization.

              Served as Receiver for corporate commercial entities and financial institutions in Arizona
              and California.

              Served as Liquidating Trustee for corporate commercial entities.

              Served as Plan Agent in Chapter 11 proceeding.

              Served as Court appointed Special Master in commercial litigation case.

              Prepared operating cash forecasts for real estate projects, commercial entities, municipal
              and non-profit businesses.

              Developed financial packages used to obtain project financing for real estate projects and
              commercial entities.

              Assisted in due diligence reviews of corporate commercial acquisitions and joint ventures.

              Assisted in the preparation of SEC filings for bankrupt real estate entities.

              Served as accountant for various creditor committees in Chapter 11 proceedings to analyze
              fraudulent conveyance and preference issues and financial viability of ongoing entities.

              Reviewed bankruptcy documents of various commercial entities to determine asset
              liquidation preference and financial viability of ongoing entity.

              Served as financial advisor for various Chapter 11 entities, assisting with various aspects of
              corporate reorganization.

              Provided expert witness testimony, including damage analysis and accounting-related
              issues in commercial litigation cases dealing with lost profits, owner disputes, securities
              fraud, employee/employer disputes, personal injury, business interruption claims and
              various other matters.

              Performed various fraud analyses and forensic procedures related to litigation in Ponzi
              schemes and employee embezzlement schemes.

              Constructed damage theories including computer-generated models for commercial
              businesses involved in litigation.

              Analysis of sole and separate property issues, hidden assets and closely held corporations in
              divorce settlement litigation.
PROFESSIONAL
ORGANIZATIONS:   Member of the Arizona Society of CPA's, American Institute of Certified Public
                 Accountants, National Association of Certified Fraud Examiners, Association of Insolvency
                 and Restructuring Advisors. Board of Directors of Bashas, Inc.


PUBLICATIONS:    Arizona Attorney Magazine, September 2020, “Bankruptcy and the Small Business
                 Reorganization Act”.
